Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 1 of 20



                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
                 Case Number:__________________-CIV-_____________________

  RAYMOND T. MAHLBERG,
          Plaintiff,
  v.
  INVICTA WATCH COMPANY OF AMERICA, INC.,

          Defendant.
  ________________________________/

                       COMPLAINT FOR PERMANENT INJUCTIVE RELIEF

          COMES NOW, Plaintiff Raymond T. Mahlberg (“Plaintiff “or “Mahlberg”), by and

  through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to

  Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-

  12189 (“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff

  state as follows:

                          INTRODUCTION AND NATURE OF THE ACTION

       1. This Court has jurisdiction over this case based on federal question jurisdiction, as

provided in 28 U.S.C. §1331 and the provisions of the ADA.

       2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

assistance through screen-reading software to read website content using his computer. Plaintiff

uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

Amendment acts of 2008, 42 USC §12101 (ADAAA).




                                                  1
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 2 of 20



    3. In the statutory text, Congress determined that "individuals with disabilities continually

encounter various forms of discrimination," including "communication barriers". 42 U.S.C. §

12182(a).

    4.Defendant’s adjunct website https://invictastores.com/ and specifically the Florida

website https://invictastores.com (the “Website” or Defendant’s website) is not fully or equally

accessible to blind or visually impaired consumers in violation of the “ADA.” As a result,

Plaintiff seeks a permanent injunction to cause a change in INVICTA WATCH COMPANY

(“Defendant” or “INVICTA”) policies, practices and procedures so that Defendant’s website will

become, and remain, accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and

costs, including, but not limited to, court costs and expert fees, pursuant to Title III of the

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and

42 U.S.C. 2000a-3(a). See also 28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36

Regulations.

    5. Throughout the ADA, "auxiliary aids and services" refers to techniques and devices to

overcome barriers in communicating with people who have visual and hearing impairments,

among other things. See 42 U.S.C. 12103(1).

    6. Implementing these provisions, see 42 U.S.C. § 12186(b), the Attorney General's Title III

regulations require public accommodations to "furnish appropriate auxiliary aids and services

where necessary to ensure effective communication with individuals with disabilities." 28 C.F.R.

§ 36.303(c)(1). The regulations specifically list "screen reader software," "magnification

software," and "accessible electronic and information technology" as among the auxiliary aids

that the statute requires. 28 C.F.R. § 36.303(b)(2).




                                                       2
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 3 of 20



      7. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA Amendments

Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, construct, maintain,

and operate its website https://invictastores.com to be fully and equally accessible to and

independently usable by Plaintiff, constitutes in Defendants’ denial of full and equal access to

its website, and therefore denial of its products and services offered thereby in conjunction with

its physical location(s), resulting in a violation of Plaintiff’s rights under the Americans with

Disabilities Act (“ADA”).

      8. Defendant’s website https://invictastores.com (the “Website” or Defendant’s website).

Defendant owns and operates the website and INVICTA stores that are located in Florida.

      9. Plaintiff Raymond T. Mahlberg, a blind veteran of the U.S. military, residing in Orlando,

Florida brings this action under the Americans with Disabilities Act in Federal Court. 8. Blind

and visually impaired citizens must use screen reading software 1 or other assistive technologies

in order to access website content.

      10. Plaintiff cannot use his computer and mobile device browser without the assistance of

appropriate and available screen reader software to understand websites.

      11. Defendant’s Website contains digital source code barriers where screen-readers for the

blind do not work.

      12. This case arises out of the fact that Defendant INVICTA WATCH COMPANY of

AMERICAS has operated its business in a manner and way that effectively excludes individuals

who are visually impaired from access to Defendants’ https://invictastores.com website based

upon Defendant’s failure to provide auxiliary aids and services for effective communications.


  1
   “screen reader” is a software application that enables people with severe visual impairments to use a computer.
  Screen readers work closely with the computer's Operating System (OS) to provide information about icons, menus,
  dialogue boxes, files and folders.


                                                         3
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 4 of 20



    13. Plaintiff seeks injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

    14. Plaintiff, a legally blind person, is impeded to access and communicate with Defendant

effectively and timely such that allowing access to Defendants’ various business locations; as

such impediment as rendered Defendants’ physical places of accommodation not fully accessible

to the visually impaired.

    15. Plaintiff has attempted to access Defendant’s Website in the past and intends to continue

to attempt to access Defendant’s Website https://invictastores.com.

    16. However, unless Defendant is required to eliminate the access barriers at issue and

required to change its policies so that access barriers do not reoccur on Defendant’s Website

https://invictastores.com, Plaintiff will continue to be denied full access to the INVICTA’s

website.

                                     JURISDICTION AND VENUE

    17. Plaintiff resides in Orlando, Florida, where a substantial part of the events giving rise to

the claims occurred. Defendant’s headquarter is in Hollywood, Florida, thus venue is proper in

the Southern District of Florida pursuant to 28 U.S.C. §1391(c) where defendant resides.

Personal jurisdiction exists when the Defendant purposefully availed itself of the conducting

activities within the forum State.

    18. Plaintiff’s claims asserted herein arose in this judicial district.

    19. Plaintiff is a resident of Orlando, FL 32817. Plaintiff was told that there are several

INVICTA stores in Orlando near Plaintiff’s home.

    20. This is an action injunctive relief pursuant to Title III of the Americans with Disabilities

Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent discrimination




                                                     4
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 5 of 20



which includes equal access and effective communications with Defendants’ business. This

Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

    21. Defendant is subject to personal jurisdiction in this District. Defendant has been and is

committing the acts or omissions alleged herein in the Southern District of Florida that caused

injury, and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts and

omissions giving rise to Plaintiff’s claims occurred in the Southern District of Florida where the

corporate office is located. Specifically, on several separate occasions, Plaintiff has been denied

the full use and enjoyment of the facilities, goods, and services of Defendant’s website in Orange,

Broward and Dade County, Florida. The access barriers Plaintiff encountered on Defendant’s

website have caused a denial of Plaintiff’s full and equal access multiple times in the past, and

now deter Plaintiff on a regular basis from accessing Defendant’s website. Plaintiff would like

to become Defendant’s patron and access the Defendant’s website in the near future but the

barriers Plaintiff encountered on Defendant’s website have impeded Plaintiff’s full and equal

enjoyment of goods and services offered at Defendant’s brick-and mortar stores. Defendant

INVICTA WATCH COMPANY is authorized to conduct, and is conducting, business within

the State of Florida and within the jurisdiction of this court.

                                            THE PARTIES

    22. Plaintiff Mahlberg, is a resident of the State of Florida. Plaintiff resides in Orlando.

Mahlberg is legally blind, and a member of a protected class under the ADA. Whereby, he has a

disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations implementing the

ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff suffered an

assault to the back of his head in 2004 which caused damage and atrophy of the optic nerve, and

as a consequence, is legally blind. Plaintiff is a legally blind individual who has a physical



                                                     5
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 6 of 20



impairment that substantially limits the major life activity of seeing. Accordingly, he has a

disability within the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified

individual with a disability within the meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and

28 C.F.R. § 35.104. 21. Plaintiff cannot use the computer without the assistance of a screen

reader software. Mahlberg is a proficient user of the JAWS screen-reader to access the internet."

JAWS, or "Job Access With Speech," is the most popular screen reading software for Windows-

based computers. For screen-reading software to work, the information on a website or on a

mobile application must be capable of being rendered into text. Usually, this means that graphics

and embedded hyperlinks must include alternative text (known as "alt-text")—a description of

the image that appears when a cursor floats over it or screen-reading software detects it.


     23. INVICTA WATCH COMPANY is a Florida Profit Corporation. Defendant is the

owner and operator of a chain of stores under the brand name INVICTA stores and his

products are distributed to hundreds of affiliated and authorized retailers. Defendant has six

stores in Florida, including Florida Mall (Orlando), Premium International Outlet (Orlando)

Aventura Mall, Pembroke Mall, Sawgrass mall and Westland Mall (Miami). As well as another

34 stores in other states.

     24. Upon information and belief, at all times material hereto, Defendant INVICTA WATCH

COMPANY operates, and/or manages the day-to-day affairs and stores of INVICTA WATCH

which are operating within Orange, Broward, Dade and other counties in the State of Florida.

     25. Plaintiff believes, and thereon alleges, that defendants INVICTA and/or related entities,

actively engaged in the sale of watches in various states throughout the country, including

Florida.




                                                   6
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 7 of 20



      26. Plaintiff is further informed that said companies are organized and existing under, and

by virtue of, the laws of the state of Florida. Defendant’s headquarters and principal corporate

offices located in Hollywood, Florida. Said Defendant entities will hereinafter collectively be

referred to as “INVICTA” “the Defendant Company” or, where appropriate, “Defendants.”

                                               FACTS

      27. Defendant is defined as a “Public Accommodation" within meaning of Title III because

Defendant is a private entity which owns and/or operates “[A] bakery, grocery store, clothing

store, hardware store, shopping center, or other sales or rental establishment,” 42 U.S.C.

§12181(7)(E) and 28 C.F.R. §36.104(5).

      28. Each of Defendant’s INVICTA’s stores are open to the public and each is a place of

Public Accommodation subject to the requirements of Title III of the ADA and its implementing

regulation as “[A] bakery, grocery store, clothing store, hardware store, shopping center, or other

sales or rental establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182, and 28 C.F.R. Part

36.

      29. INVICTA stores offer for sale to the general public men and women watches.

      30. Defendant has control over its website and mobile application, and/or operates his web

pages, including image and data content. Defendant owns and operate the domain name

https://invictastores.com that is configured for use by mobile devices such as smartphones, as

well as regular computer laptops and desktops to access Defendant’s website.

      31. One of the functions of Defendant’s website (available in mobile or computer version)

is to provide the public information on the various locations of Defendant’s stores that sell

merchandise. The other function of the website is to sell Defendant’s merchandise.




                                                   7
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 8 of 20



    32. Defendant’s Website is offered by Defendant as a way for the public to communicate

with INVICTA merchandise. Defendant’s Website also permits the public to register and create

an account allows the general public to order and purchase watches, provides information about

its products, and (among other things) provides customer service, locate stores, buy watches

online, repairs and other services.

    33. The Website is an integral part of the goods and services offered by Defendant’s store,

because website and physical stores are heavily integrated, since the website allows the public

the ability to locate Defendant’s stores, retail locations and sells merchandise.

    34. The website is an extension of defendant’s physical stores. By this nexus, between the

store and the Website is characterized as a Place of Public Accommodation pursuant to Title III,

42 U.S.C. §12181(7)(E) of the ADA.

    35. Plaintiff is a customer of INVICTA watches merchandise, since he owns a INVICTA

watch, and his intent to buy other watches. Plaintiff is a watch lover, thru his inquiries he learned

there are some INVICTA’s stores in his area.

    36. As a result of Plaintiff being legally blind, before he embarks on any venture from his

home, he studies the location where he is seeking to patronize through using the internet. In the

case of Plaintiff’s investigation of INVICTA’s store locations, Plaintiff went to defendant’s

Website to learn (1) how to navigate to and from INVICTA’s store locations; (2) the cost of

INVICTA’s men watches; (3) times and hours of operation INVICTA’s stores in his area and in

Miami, so he can arrange transportation with the intent of purchasing INVICTA’s watch, (4) the

exclusive online deals (5) and privacy policy.

    37. Like most consumers, Plaintiff accesses numerous websites at a time to compare

features, models, quality and prices.



                                                    8
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 9 of 20



     38. During the plaintiff’s several visits to the website using JAWS (computer) and

Voiceover (mobile) occurring in September 31, 2019 and the last in October 9, 2019, the

plaintiff encountered multiple access barriers that denied the plaintiff full and equal access to the

facilities, goods and services offered to the public and made available to the public; and that

denied the plaintiff the full enjoyment of the facilities, goods, and services of the website, as well

as to the facilities, goods, and services of Defendant’s locations in Florida.

     39. Plaintiff was impeded to patronize INVICTA stores by Plaintiff being unable to learn

about INVICTA location addresses, hours, watches models and features available online for sale,

and the ability to create an online account, read the Warranty, Return and Privacy Policy, among

other things readily available to sighted individuals.

     40. Plaintiff called Defendant INVICTA store to inquire about new arrivals of men watches

as well to find the location of stores in Miami, Fort Lauderdale and Orlando. However,

Defendant’s representative failed to fully assist Plaintiff and referred him to its Website.

     41. Following communications with Defendant’s representative, Plaintiff attempted to

utilize Defendant’s Website as instructed by Defendant’s representative.

     42. Defendant’s Website was inaccessible, so Plaintiff could not (among other things):

     a.                  Find out about INVICTA’s men watches to purchase online;

     b.                  Locate INVICTA’s stores;

     c.                  Learn about the INVICTA’s products, in a regular basis buy watches;

     d.                  Plaintiff attempted to locate an “Accessibility Notice” on Defendant’s

mobile and computer website which would direct him to a webpage with contact information for

disabled individuals who have questions, concerns, or who are having difficulties




                                                     9
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 10 of 20



 communicating with the business. However, Plaintiff was unable to do so because no such link

 or notice was provided on Defendant’s website.

                             AMERICAN WITH DISABILITIES ACT

     43. The failure to access the information needed precluded Plaintiff’s ability to patronize

 INVICTA stores because, as a blind individual, Plaintiff needs to plan his outings out in detail

 in order to have the proper financing for a venture, and insure that he arrives at a given location.

     44. Title III provides that “no individual shall be discriminated against on the basis of

 disability” in “any place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

 III, the term “public accommodation” includes a “grocery store.” Id. § 12181(7)(E). Defendant

 INVICTA owns and operates stores, the INVICTA Watches.

     45. Technology evolves, in these days, consumers are doing most of their shopping online.

 Defendant’s provision of an e-commerce website is an essential part of the services offered, and

 is no different than the customer service to the public as part of INVICTA stores services,

 privileges and benefit to the public.

     46. Title III ADA Part 36 regulation was amended to integrate section 36.303 Auxiliary

 Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and services

 where necessary to ensure effective communication with individuals with disabilities.”

      47. By this nexus, the website https://invictastores.com and its mobile app are characterized

 as an intangible service, privilege and advantage provided by INVICTA a place of Public

 Accommodation (INVICTA’s stores) as defined under the ADA, and thus its website is an

 extension of INVICTA services, privileges and advantages made available to the general public

 by Defendant through its retail brick and mortar stores.




                                                    10
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 11 of 20



      48. Defendant’s Website is not designed with consideration for WCAG, Accessible Rich

 Internet Applications (ARIA) software language and Universal design 2. This means that images

 and embedded hyperlinks must include alternative description text (known as "alt-text")—a

 description of the image that appears when a cursor floats over it or screen-reading software

 detects it. The World Wide Web Consortium (the principal standards-setting body for the web)

 has issued a set of "Web Content Accessibility Guide-lines" (WCAG) to assist developers in

 making their websites accessible to blind people and other individuals with disabilities.

      49. Plaintiff’s expectation of participating in INVICTA website, services and privileges

 was eliminated since he could not access Defendant’s https://invictastores.com website at all to

 avail himself of the latest services which Defendant offers to the public.

      50. The access barriers Plaintiff encountered on Defendant’s website have caused a denial

 of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a regular

 basis from accessing Defendant’s website https://invictastores.com.

      51. Plaintiff would like to become Defendant’s patron and access the Defendant’s website

 in the near future but the barriers Plaintiff encountered on Defendant’s https://invictastores.com

 website and mobile application have impeded Plaintiff’s full and equal enjoyment of goods and

 services offered at Defendant’s brick-and mortar stores.

      52. The fact that Plaintiff could not access the Defendant’s Website and could not

 comprehend the electronic pages contained therein, left Plaintiff excluded from accessing

 INVICTA stores, goods and services available from Defendant and further left him with the



  2
   Following universal design principles in creating a website provides access to all users regardless of their abilities,
  their disabilities, or the limitations of their equipment and software. Washington University. “Universal design is the
  design of products and environments to be usable by all people, to the greatest extent possible, without the need
  for adaption or specialized design.” Kalbag, Laura (2017).


                                                            11
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 12 of 20



 feeling of segregation, rejection, isolation, and unable to participate in his own business

 affairs (such as in this case purchasing organic groceries and wellness products) in a manner

 equal to that afforded to others who are not similarly disabled.

     53. Plaintiff’s inability to fully use Defendant’s Website therein has hindered, impeded and

 inhibited Plaintiff’s access to Defendants physical store locations. Plaintiff has suffered as a

 result and has suffered particularized harm and an injury in fact.

     54.   Plaintiff cannot make proper arrangements for transportation of himself to the

 INVICTA’s store locations without the ability to know in advance the INVICTA’s merchandise,

 goods and services which service is available online through Defendant’s Website. Plaintiff also

 faces a great degree of uncertainty of how to physically travel to Defendant’s INVICTA’s store

 location in Orlando, and or in Miami, Florida, Plaintiff is effectively denied the ability to

 physically travel to Defendant’s INVICTA’s store.

     55. Plaintiff has a concrete plan to purchase INVICTA’s brand merchandise when he is

 treated like other members of the public. Consequently, the Plaintiff is unable to determine the

 cost of Defendant’s goods and services, including becoming informed about the INVICTA’s

 brand merchandise available for purchase.

     56. By denying Plaintiff the opportunity to comprehend INVICTA’s Website and mobile

 application therein due to Plaintiff’s disability (visual impairment), Defendant has denied

 Plaintiff the opportunity to participate in or benefit from Defendant’s goods and services as

 afforded to the public.

     57. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions, policies,

 and practices set forth herein unless enjoined by this Court.




                                                    12
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 13 of 20



      58. On information and belief, Defendant has not offered any form of website and mobile

 application in an accessible format for blind or visually impaired individuals.

      59. Thus, Defendant has not provided full and equal enjoyment of the services, facilities,

 privileges, advantages, and accommodations provided at its stores and authorized retailers.

      60. All Public Accommodations must insure that their Places of Public Accommodation

 provide Effective Communication for all members of the general public, including individuals

 with disabilities.

      61. On information and belief, Defendant is aware of the common access barriers and

 barriers to effective communication within its Website and the electronic pages/data therein

 which prevent individuals with disabilities who are visually impaired from the means to

 comprehend the information presented therein.

      62. Defendant and alike retailers are fully aware of need to provide full access to all visitors

 to its Website as Department of Justice published several communications stating that the

 website is an auxiliary-aid of the physical stores and must be accessible. (September 25, 2018

 letter from Assistant Attorney General) and Title III ADA 28 C.F.R. § 36.303.

      63. Binding case law increasingly recognize that private entities are providing goods and

 services to the public through the websites that operate as places of Public Accommodation under

 Title III.

      64. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s website

 and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination due

 to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.




                                                     13
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 14 of 20



     65. Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

 hereinabove and this suit for injunctive relief is his only means to secure adequate redress from

 Defendant’s unlawful and discriminatory practices.

     66. Notice to Defendant is not required as a result of Defendant’s failure to cure the

 violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

 2202.

     67. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to pay a

 reasonable fee for services in the prosecution of this cause, including costs and expenses

 incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

 Defendant.

     68. The Website is also a place of Public Accommodation pursuant to 42 U.S.C.

 §12181(7)(E) as the public can purchase INVICTA’s merchandise online through the Website

 (which meets the definition of “sales establishment‟).

     69. The Department of Justice has provided useful guidance regarding website accessibility

 under the ADA, and the binding and persuasive case law in this district has applied the Web

 Content Accessibility Guidelines (“WCAG”) 2.0 or 2.1 to determine accessibility.

     70. Types of website source-code programming errors include (but are not limited to)

 source-code errors which are easily identifiable and are prone to making the website inaccessible,

 that create empty headings and text fields that create confusion for a user that rely on the “TAB”

 key to navigate a web page.

     71. A sampling review of just part of it revealed that the Website is not functional for users

 who are visually impaired. The Website contains several types of errors, easily identifiable and

 correctable, which occur throughout the Website such as:



                                                    14
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 15 of 20



     a.   All image elements must have an alt attribute. WCAG 2.0 A F65

     b.   Each a element must contain text or an img with an alt attribute. WCAG 2.0 A F89

     c.   All fields in a group of input fields (for example phone numbers) need a label. WCAG

 2.0 A F86

     d.   All onclick handlers should have an equivalent onkeypress handler. WCAG 2.0 A

     e.   Button elements containing only an img must have an alt attribute on the img WCAG 2.0

 A F65

     f.   Content inserted with CSS is not read by some screen readers, and not available to people

 who turn off style sheets. WCAG 2.0 A F87

     g.   Iframe and frame elements must have title attributes WCAG 2.0 A 2.4.1

     72. More violations may be present on webpages of the Website, and they will be

 determined and proven through the discovery process and expert audit.

     73. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

 §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.

     74. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to pay a

 reasonable fee for services in the prosecution of this cause, including costs and expenses

 incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

 Defendant INVICTA Watch Company of America.

     COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

     75. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle

 A of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

 Accommodations and requires places of Public Accommodation to be designed, constructed, and

 altered in compliance with the accessibility standards established by Part 36 Regulation.



                                                   15
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 16 of 20



      76. Defendant’s Website has not been designed to interface with the widely and readily

 available technologies that can be used to ensure effective communication.

      77. As delineated above and pursuant to 42 U.S.C. §12181(7)(E), Defendant is a Public

 Accommodation under the ADA because it owns and/or operates the https://invictastores.com

 website which is defined within §12181(7)(E), and is subject to the ADA.

      78. In addition, Defendant’s representatives within its store locations have referred

 customers to Defendant’s Website. By Defendant’s representatives referring the public /visually

 impaired individuals to its Website for basic information needed to shop at a INVICTA store,

 instead of providing such information at the physical store locations, the Website has been

 rendered an integral part of Defendant’s physical store locations. Thus, the failure of that Website

 contained therein to be accessible to visually impaired individuals impedes visually impaired

 individuals (such as Plaintiff) from access to Defendant’s physical store locations.

      79. The ADA applies to the Defendant’s Website, as the Website is a place of Public

 Accommodation for the following reasons: (1) the statutory construction of the ADA

 demonstrates its applicability is not limited to physical “brick and mortar” locations; (2)

 Congress‟ intent was for the ADA to be responsive to changes in technology; and (3) the

 Department of Justice has interpreted the ADA to apply to websites.

      80.    No notice is required because under Title III of the ADA, 42 U.S.C. §

 12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class

 of individuals with disabilities an opportunity to participate in or benefit from the goods, services,

 facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

 to other individuals.




                                                     16
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 17 of 20



     81. Unlawful discrimination includes “a failure to make reasonable modifications in

 policies, practices, or procedures, when such modifications are necessary to afford such goods,

 services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

 unless the entity can demonstrate that making such modifications would fundamentally alter the

 nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.

 § 12182(b)(2)(A)(II).

     82. Unlawful discrimination also includes “a failure to take such steps as may be necessary

 to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

 treated differently than other individuals because of the absence of auxiliary aids and services,

 unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

 the good, service, facility, privilege, advantage, or accommodation being offered or would result

 in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

     83.   Defendant is in violation of the ADA by creating barriers for individuals with

 disabilities who are visually impaired and who require the assistance of interface with screen

 reader software to comprehend and access websites and electronic documents. These violations

 are ongoing.

     84. As a result of the inadequate development and administration of Defendant’s Website,

 Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28 C.F.R.

 §36.501 to remedy the discrimination.

     84. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

 Mahlberg injunctive relief; including an order to:

     a)           Require Defendant take the necessary steps to make the Website readily

 accessible to and usable by visually impaired users, and during that time period prior to the



                                                      17
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 18 of 20



 https://invictastores.com website’s being readily accessible, to provide a temporary alternative

 method for individuals with visual impairments to access the information available on the

 Website until such time that the requisite modifications are made. Title III American with

 Disabilities Act Part 36 Regulation.

     b)          Require Defendant to provide periodic maintenance of the accessible website

 thru the appropriate auxiliary aids such that individuals with visual impairments will be able to

 always receive effectively communication with the Website for purposes of viewing and locating

 INVICTA stores and becoming informed of and signing up for INVICTA merchandise online,

 and of viewing electronic documents provided to the public within Defendant’s Website.

     c)       During the time period prior to the Website’s being designed to permit individuals

 with visual impairments to effectively communicate, requiring Defendant to provide an

 alternative method for individuals with visual impairments to effectively communicate so they

 are not impeded from obtaining the goods and services made available to the public. Title III

 ADA Part 36 Regulation.

     85. For all of the foregoing, the Plaintiff has no adequate remedy at law.

     DEMAND FOR RELIEF

     WHEREFORE, Plaintiff RAYMOND T. MAHLBERG hereby demands judgment against

 Defendant “INVICTA Watch Company of America.” and requests the following injunctive relief

 permanently enjoin Defendant from any practice, policy and/or procedure which will deny

 Plaintiff equal access to, and benefit from Defendant’s services and goods, as well as the Court:

     a. That the Court issue a Declaratory Judgment that determines that the Defendants'

 website at the commencement of the subject lawsuit is in violation of Title III of the

 Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.;



                                                   18
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 19 of 20



     b. That the Court enter an Order directing Defendants to continually update and maintain

 their computer version of the defendant’s website and INVICTA’s website to ensure that it

 remains fully accessible to and usable by visually impaired individuals;

     c. That the Court issue an Order for Defendants to continuously monitor and maintain their

 computer website to ensure that it is readily accessible to and usable by persons with vision

 impairment;

     d. That the Court issue an Injunctive relief order directing Defendants to alter their website

 to make it accessible to, and useable by, individuals with disabilities to the full extent required

 by Title III of the ADA;

     e. That the Court enter an Order directing Defendants to evaluate and neutralize their

 policies and procedures towards persons with disabilities for such reasonable time so as to

 allow Defendants to undertake and complete corrective procedures;

     f. That the Court enter an Order directing Defendants to continually update their website to

 ensure that it remains fully accessible to and usable by visually impaired individuals;

     g. That the Court enter an award of attorney’s fees, costs and litigation expenses pursuant

 to 42 U.S.C. § 12205; and


      Respectfully submitted,

          Dated this 28st day of October, 2019.


                                                   s/Acacia Barros
                                                   Attorney for Plaintiff
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                                                     19
Case 0:19-cv-62720-RNS Document 1 Entered on FLSD Docket 11/01/2019 Page 20 of 20




                                     CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of October, 2019 that the foregoing document

      has     been filed using CM/ECF system and will be served via email

      when Defendant/Defendant’s counsel enters an appearance.




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